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18

19                                   UNITED STATES DISTRICT COURT
20                              NORTHERN DISTRICT OF CALIFORNIA
21                                      SAN FRANCISCO DIVISION
22

23   SONOS, INC.,                                      Case No. 3:21-cv-07559-WHA

24                      Plaintiff,                     DECLARATION OF COLE B.
                                                       RICHTER IN SUPPORT OF SONOS,
25          v.                                         INC.’S ADMINISTRATIVE MOTION
                                                       TO FILE UNDER SEAL DOCUMENTS
26   GOOGLE LLC,                                       FILED IN SUPPORT OF SONOS’S
                                                       THIRD AMENDED COMPLAINT
27                      Defendant.

28
                                                          DECL. OF RICHTER ISO SONOS’S ADMINISTRATIVE
                                                                           MOTION TO FILE UNDER SEAL
                                                                                  3:21-CV-07559-WHA
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 1          I, Cole B. Richter, declare as follows and would so testify under oath if called upon to do

 2   so:

 3          1.      I am an attorney with the law firm of Lee Sullivan Shea & Smith LLP, counsel of

 4   record to Sonos, Inc. (“Sonos”) in the above-captioned matter. I am a member in good standing of

 5   the Bar of the State of Illinois. I have been admitted pro hac vice in this matter. I make this

 6   declaration based on my personal knowledge, unless otherwise noted. If called, I can and will

 7   testify competently to the matters set forth herein.

 8          2.      I make this declaration in support of Sonos’s Administrative Motion to File Under

 9   Seal Documents Filed in Support of Sonos, Inc.'s Third Amended Complaint (“Administrative
10   Motion”) (“Sonos’s TAC”).

11          3.      As indicated in the Administrative Motion, Sonos seeks an order sealing the

12   entirety of Exhibits CC and CE. See the table in the Administrative Motion.

13          4.      Exhibits CC and CE reference Sonos’s confidential business information and

14   include confidential business agreements and licensing negotiations that are not public. Public

15   disclosure of this information would harm Sonos’s competitive standing and its ability to

16   negotiate future business agreements because it would give competitors access to Sonos’s

17   confidential business strategies. If such information were made publicly available, I understand

18   that Sonos’s competitive standing would be significantly harmed. A less restrictive alternative

19   than sealing the highlighted portions of Sonos’s TAC and the exhibits in their entirety would not
20   be sufficient because the information sought to be sealed is Sonos’s confidential business

21   information but is integral to the defenses in Sonos’s TAC.

22          I declare under penalty of perjury that the foregoing is true and correct to the best of my

23   knowledge. Executed this 8th day of July, 2022 in Chicago, Illinois.

24

25                                                                     /s/ Cole B. Richter
                                                                         COLE B. RICHTER
26

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28
                                                               DECL. OF RICHTER ISO SONOS’S ADMINISTRATIVE
                                                    1                           MOTION TO FILE UNDER SEAL
                                                                                       3:21-CV-07559-WHA
